

















IN THE COURT OF CRIMINAL APPEALS


OF TEXAS






NO. PD-0890-07






DAVID MICHAEL GALINDO,   Appellant



v.



THE STATE OF TEXAS





ON APPELLANT'S PETITION FOR DISCRETIONARY REVIEW


FROM THE FOURTEENTH COURT OF APPEALS


HARRIS COUNTY





		Per curiam.  KEASLER, and HERVEY, J.J., dissent.


O R D E R 



	The petition for discretionary review violates Rule of Appellate Procedure 68.5
because the grounds and reasons for review are more than 15 pages.

	The petition is struck.  See Rule of Appellate Procedure 68.6.

	The petitioner may redraw the petition.  The redrawn petition must be filed in the
Court of Criminal Appeals within thirty days after the date of this order.

En banc.

Delivered October 3, 2007

Do Not Publish.



